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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LIDIA KARINE SOUZA, and D.F., by and
through his mother, LIDIA KARINE,
SOUZA,

             Plaintiffs,                         No. 18 CV 4412

        v.                                       Judge Manish S. Shah

JEFFERSON BEAUREGARD SESSIONS III,
Attorney General of the United States,
et al.,

             Defendants.

                           PRELIMINARY INJUNCTION ORDER

      Plaintiffs’ motion for a temporary restraining order and preliminary
injunction, [8], is granted.

       Plaintiffs Lidia Karine Souza and her minor son, D.F., seek an order
compelling the defendants (various components and officials of the United States
government, Heartland Alliance International, LLC, and an operations manager at
Heartland) to release D.F. into the custody of Souza. Souza and D.F. entered the
United States illegally, and were separated. Souza was detained and prosecuted for
illegal entry, and as a result, D.F. was designated an unaccompanied alien child
under 6 U.S.C. § 279(g)(2). The Office of Refugee Resettlement placed D.F. with
Heartland Human Care Services, and he is currently in their custody. Souza has
completed her sentence for illegal entry and has been released on her own
recognizance pending an asylum application. She seeks to be reunited with D.F.

       The government does not dispute that Souza is D.F.’s parent and she is fit to
care for him. But the Office of Refugee Resettlement will not release D.F. to Souza
until it completes some additional background checks related to the adults living in
the home where Souza intends to stay with D.F. According to counsel for the
government, a preliminary injunction issued by the United States District Court for
the Southern District of California directs the government to reunite Souza and D.F.
(as members of a certified class) within approximately 28 days, and the government
intends to comply. Souza, however, argues that any continued separation from D.F.
is unlawful, and should be immediately remedied. She seeks a TRO and a
preliminary injunction; the government and Heartland have received notice of the
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motion and have been heard in response. The government opposes the motion;
Heartland does not. Since the defendants have received notice and have been heard,
and since the standards for issuing a preliminary injunction are the same as for
issuing a TRO, I consider the request to be for a preliminary injunction.

      Plaintiffs must establish that (1) without preliminary relief, they will suffer
irreparable harm before final resolution of their claims; (2) legal remedies are
inadequate; and (3) their claim has some likelihood of success on the merits. If they
make this showing, the court balances the harms to the moving parties, other
parties, and the public. Eli Lilly & Co. v. Arla Foods, Inc., No. 17-2252, 2018 WL
2998510, at *2 (7th Cir. June 15, 2018).

        Plaintiffs have demonstrated some likelihood of success on their claim that
continued separation of D.F. from his available, fit parent violates their due-process
rights.* “Among the liberties protected by [the due process clause] is the right of
parents to the custody of their children.” Dupuy v. Samuels, 465 F.3d 757, 760 (7th
Cir. 2006). The post-deprivation process provided to D.F. and Souza—the
requirement that Souza complete forms and that the adults in the home submit to
fingerprinting for background checks, so that ORR can be satisfied that D.F. will be
released to a safe environment—may ordinarily be a reasonable balance of familial
liberty interests and governmental interests in public safety and the administrative
feasibility of immigration procedures. Indeed, a statute prohibits ORR from placing
an unaccompanied alien child with a person or entity unless the government makes a
determination that the custodian is capable of providing for the child’s physical and
mental well-being. 8 U.S.C. § 1232(c)(3)(A). But here, there is also a reasonable
likelihood that since the process to date has established that Souza is fit and
available, additional process only serves to interfere in the family’s integrity with
little to no benefit to the government’s interests. It is also likely that D.F. no longer
qualifies as an unaccompanied alien child—the statutory definition requires the
absence of any parent or guardian in the United States or the unavailability of any
parent or guardian to provide care and custody. 6 U.S.C. § 279(g)(2). Souza is present
and available. The Office of Refugee Resettlement has no statutory basis to keep D.F.
in custody if he is not an unaccompanied alien child. The government argues that
once a child is designated unaccompanied, that designation cannot be challenged. See
generally D.B. v. Cardall, 826 F.3d 721 (4th Cir. 2016). But that is not settled law,
and as a matter of statutory interpretation where the parent’s fitness is not disputed,
it is reasonably likely that D.F. no longer falls under § 279(g)(2). His continued

* The first amended complaint cites to 28 U.S.C. § 2241, but it does not formally track a
petition for a writ of habeas corpus. The relief requested in the pending motion, and its
premise—that D.F. is in ORR custody in violation of the laws and Constitution of the United
States—sound in habeas corpus, and I conclude that this court has jurisdiction over such a
claim.
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placement within ORR and Heartland likely violates the law, and at a minimum,
likely interferes with familial integrity without sufficient procedural justification.
This is a preliminary determination on a limited record, but plaintiffs have a
reasonable likelihood of success.

       Continued separation of D.F., a nine year-old child, and Souza irreparably
harms them both. Money damages cannot repair the harm to familial integrity. See
Stanley v. Illinois, 405 U.S. 645, 647 (1972) (delay in parental custody causes
intangible deprivation, uncertainty, and dislocation). And finally, the harm to the
defendants in immediately placing D.F. with Souza is negligible. There is no dispute
that she is D.F.’s parent and she is fit. The government’s interests in completing
certain procedures to be sure that D.F. is placed in a safe environment and in
managing the response to ongoing class litigation do not outweigh the family’s
interest in reuniting. The public has an interest in the government complying with 8
U.S.C. § 1232(c)(3)(A)—to ensure the well-being of children who find themselves in
government custody—and the public has an interest in the constitutional right to
familial integrity. The public-interest factor is neutral.

For these reasons, this Court orders that:

      1.     Defendants, their officers, agents, attorneys, and other persons in active
concert with them who have notice of this order, shall release D.F. to the custody of
Lidia Karine Souza on June 28, 2018.

      2.     No bond or security shall be posted to secure this order. A bond is
unnecessary because of Plaintiffs’ indigency and the minimal cost to the defendants
from the risk of being wrongfully enjoined.

      3.     This order shall remain in place during the pendency of the litigation,
without prejudice to any party seeking to modify or vacate it.

ENTER:


Date: June 28, 2018
                                                 Manish S. Shah
                                                 U.S. District Judge




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